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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



PHERAH LLC,

     Plaintiff,
                                                         C.A. NO. 1:17-cv-1680-RGA
     v.

POINT OF SALE INC. DBA ERPLY,                            JURY TRIAL DEMANDED
     Defendant.



                  STIPULATION AND ORDER FOR EXTENSION OF TIME

       Counsel for Plaintiff and counsel for Defendant have met and conferred regarding

extending Defendant’s time to respond to Plaintiff’s Complaint (D.I. 1). Subject to the Court's

approval, Plaintiff requests that Defendant’s time to file its response to the Complaint be

extended up to and including January 12, 2018. The reason for this requested extension is to

allow counsel for Defendant additional time to investigate the allegations set forth in Plaintiff’s

Complaint, consult with their clients, and consider an appropriate response. No party will be

prejudiced by this brief extension.



Dated: November 30, 2017                     STAMOULIS & WEINBLATT LLC

                                              /s/ Stamatios Stamoulis
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                                       ATTORNEYS FOR PLAINTIFF
                                       PHERAH LLC


SO ORDERED, this ___________ day of ________________, 2017.

                                     ____________________________________
                                     District Judge - United States District Court
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                              CERTIFICATE OF SERVICE

        I hereby certify that on November 30, 2017, I electronically filed the above

document(s) with the Clerk of Court using CM/ECF which will send electronic

notification of such filing(s) to all registered counsel.



                                                /s/ Stamatios Stamoulis
                                                Stamatios Stamoulis #4606
